Case 2:04-CV-02252-BBD-tmp Document 32 Filed 05/31/05 Page 1 of 2 Page|D 55

UNITED STA TES DIS TRICT CoURT
WESTERN DISTRICT OF TENNESSEE

 

 

WESTERN DIVISIUN
CAMPBELL CLINIC, INC., et al. JUDGMENT IN A CIVIL CAsE
V.
THE ADMINISTRATIVE GROUP, INC., et al. CASE No: 04-2252-1)

 

DECISION BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Granting Default
Judgment entered on December 3, 2004, this cause is hereby dismissed.

APPROVED:

 

NITED ST‘;\TES DISTRICT COUR'I`
/ d / d ' aoBEm n. m Tnouo

 

D fiferk of Court

4

( y) D tyClerk

This document entered on the docket she t in com Jiance
wnn arise 58 and;or maj FHcP on ._LL&Q§
39~

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CV-02252 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

Stephen J. Carmody
BRUNINI,GRANTHAM,GROWER&HEWES, PLLC
P.O. DraWer 119

Jackson7 MS 39205

Whitney M. Stone
BRUNINI,GRANTHAM,GROWER&HEWES,PLLC
DraWer l 19

Jackson7 MS 39205

Matthew Yarbrough Harris
RUTLEDGE & DAVIS

P.O. BOX 29

NeW Albany, MS 38652--002

Honorable Bernice Donald
US DISTRICT COURT

